    Case 3:15-md-02670-JLS-MDD Document 1810 Filed 01/24/19 PageID.124315 Page 1 of 5


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              10 and Dongwon Industries Co., Ltd.
              11 [Additional counsel listed on signature pages.]
              12
                                      UNITED STATES DISTRICT COURT
              13                    SOUTHERN DISTRICT OF CALIFORNIA
              14
                    IN RE: PACKAGED SEAFOOD                Case No. 3:15-md-02670-JLS-MDD
              15    PRODUCTS ANTITRUST
                    LITIGATION                             MDL No. 2670
              16
                    This Document Relates to:              NOTICE OF RECENT AUTHORITY
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                    The Direct Purchaser Plaintiffs, End   Court.:   Room 4D
              18    Payer Plaintiffs, and Commercial       Judge:    Hon. Janis L. Sammartino
                    Food Preparer Plaintiffs Tracks
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                                                                          NOTICE OF RECENT AUTHORITY
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                               NO. 3:15-MD-2760-JLS-MDD
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                   1         The undersigned Defendants respectfully notify the Court of recent authority
                   2 in the In re Qualcomm Antitrust Litigation matter.
                   3         Specifically, on January 23, 2019, the United States Court of Appeals for the
                   4 Ninth Circuit granted Defendant Qualcomm Inc.’s petition, pursuant to Federal
                   5 Rule of Civil Procedure 23(f), for permission to appeal the district court’s order
                   6 certifying a class of consumers pursuing indirect purchaser claims in the In re
                   7 Qualcomm Antitrust Litigation matter. Stromberg v. Qualcomm, Inc., No. 18-
                   8 80135, 2019 U.S. App. LEXIS 2230 (9th Cir. Jan. 23, 2019). The Qualcomm
                   9 district court’s order, In re Qualcomm Antitrust Litig., No. 17-MD-02773-LHK,
              10 2018 WL 4680214 (N.D. Cal. Sept. 27, 2018), was referenced on the following
              11 pages from the parties’ briefing and in the following transcripts of the hearings on
              12 Class Plaintiffs’ motions for class certification: DPPs’ Reply Memorandum, ECF
              13 No. 1708 at 2, 8; CFPs’ Reply Memorandum, ECF No. 1656 at 25, 30; January 14,
              14 2019 transcript at 19-20; and January 16, 2019 transcript at 646, 653.
              15             The Ninth Circuit’s order is attached as Exhibit A.
              16 Dated: January 24, 2019                     Respectfully submitted,
              17                                             By: s/ Belinda S Lee
              18                                             LATHAM & WATKINS LLP
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 SAN FRANCISCO                                                   1                      NO. 3:15-MD-2760-JLS-MDD
    Case 3:15-md-02670-JLS-MDD Document 1810 Filed 01/24/19 PageID.124317 Page 3 of 5


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                                                 LLC d/b/a Chicken of the Sea International
              28                                 and Thai Union Group PCL
                                                                    NOTICE OF RECENT AUTHORITY
ATTORNEYS AT LAW
 SAN FRANCISCO                                      2                    NO. 3:15-MD-2760-JLS-MDD
    Case 3:15-md-02670-JLS-MDD Document 1810 Filed 01/24/19 PageID.124318 Page 4 of 5


                   1                           SIGNATURE ATTESTATION
                   2         Under Section 2.f.4 of the Court’s CM/ECF Administrative Policies, I hereby
                   3 certify that authorization for filing this document has been obtained from each of the
                   4 other signatories shown above, and that all signatories have authorized placement of
                   5 their electronic signature on this document.
                   6
                   7 Dated: January 24, 2019                         s/ Belinda S Lee
                                                                     Belinda S Lee
                   8
                   9                                                 Counsel for Defendants StarKist Co.
                                                                     and Dongwon Industries Co., Ltd.
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ATTORNEYS AT LAW
 SAN FRANCISCO                                                   3                    NO. 3:15-MD-2760-JLS-MDD
    Case 3:15-md-02670-JLS-MDD Document 1810 Filed 01/24/19 PageID.124319 Page 5 of 5


                   1                             CERTIFICATE OF SERVICE
                   2         I certify that on January 24, 2019, I filed the foregoing document with the
                   3 Clerk of the Court for the United States District Court, Southern District of
                   4 California, by using the Court’s CM/ECF system, which will serve electronic
                   5 notification of this filing to all counsel of record.
                   6
                   7 Dated: January 24, 2019                                 s/ Belinda S Lee
                   8                                                         Belinda S Lee

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ATTORNEYS AT LAW
 SAN FRANCISCO                                                     4                    NO. 3:15-MD-2760-JLS-MDD
